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                                   STATEMENT OF FACTS

        Your affiant is a Task Force Officer with the Federal Bureau of Investigation (FBI) and I
am currently assigned to the FBI’s Miami Field Office. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Task Force Officer,
I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

  Evidence Linking LOUIS VALENTIN and JULIO BAQUERO to Assault on the U.S. Capitol

       On or about January 13, 2021, the FBI received a tip that LOUIS VALENTIN and JULIO
BAQUERO, from Hollywood, Florida, were inside the U.S. Capitol on January 6 during the
Capitol Riots.

        On or about March 26, 2021, VALENTIN agreed to speak with law enforcement
voluntarily. During the in-person interview, which I attended, VALENTIN admitted to having
travelled to Washington, D.C. with his friend and roommate, JULIO BAQUERO, leaving Florida
on January 4 and arriving on January 5, 2021. VALENTIN showed law enforcement photographs
of himself taken in Washington D.C. on January 6, 2021. VALENTIN said that after the Trump
rally ended, he and BAQUERO walked to the Capitol, then up the steps, and entered the building.
VALENTIN said he and BAQUERO were inside the Capitol for approximately 10 minutes.

        On or about April 8, 2021, JULIO BAQUERO agreed to speak with law enforcement
voluntarily. During the in-person interview, which I attended, BAQUERO admitted travelling to
Washington, D.C. with VALENTIN and having entered the Capitol building. BAQUERO said
that he witnessed an unknown person trying to kick down a door and that another unknown person
tried to pass a fire extinguisher to him and others. BAQUERO said he and VALENTIN entered
the Rotunda, and that while there, VALENTIN saw an unknown person with a knife. BAQUERO
claimed that after VALENTIN told him about the knife, BAQUERO told VALENTIN that he
wanted to leave. BAQUERO claimed that while trying to exit the Capitol, a police officer helped
clear a path for him. BAQUERO said he and VALENTIN were in the Capitol for approximately
15-25 minutes, and that neither he nor VALENTIN was involved in any violence, or had any run-
ins with law enforcement. BAQUERO said that after he left the Capitol, he took several photos,
including some “selfies,” which he provided to law enforcement officers.

       I have reviewed security video from inside the Capitol showing both VALENTIN and
BAQUERO entering the Capitol in the area of the Upper West Terrace at approximately 2:45 p.m.
on January 6.

       In the screenshot below, BAQUERO, circled in red, can be seen entering the Capitol at
approximately 2:45 p.m. wearing a dark blue and white windbreaker with green striped hood, and
a Trump flag tied around his neck. Based on having met him in person on April 8, 2021, I
recognize the individual in the screenshot as BAQUERO.




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       A few seconds later in the same video, VALENTIN can be seen entering the Capitol
through the same door. In the screenshot below, VALENTIN, circled in red, can be seen entering
the Capitol, wearing a red hat, flag mask, and a Jacksonville Jaguars jacket.




        Though VALENTIN’s face is covered in this screenshot, I have reviewed publicly
available video taken during the Capitol Riots showing VALENTIN, without a mask, wearing the
same red hat, flag mask, and a Jacksonville Jaguars jacket standing just outside the Capitol
Building. Based on having met him in person on March 26, 2021, I recognize the individual in
the screenshot as VALENTIN.




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       CCTV from the Capitol during the Riots shows that after VALENTIN and BAQUERO
entered the Capitol, they walked to the Rotunda. At approximately 3:00 p.m., U.S. Capitol Police
and Metropolitan Police Department Officers began efforts to clear the rioters from the Rotunda.

       CCTV and body-worn camera from MPD Officers show that at approximately 3:04 p.m.,
BAQUERO physically resisted officers attempting to clear the rioters out of the Rotunda. During
the confrontation, BAQUERO grabbed at officers, and at one point grabbed the hand of an MPD
Officer which was holding a police baton. In the screenshot below, BAQUERO, circled in red,
can be seen grabbing the hand of the officer.




In the screenshot below, taken a few seconds later, BAQUERO can be seen again reaching out at
officers.




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       Body worn camera footage shows that at approximately 3:05 p.m., BAQUERO confronted
MPD and USCP officers attempting to clear the Rotunda, shouting “You’re a traitor!” In the
screenshot below, BAQUERO, circled in red, can be seen shouting and pointing at officers.




       CCTV shows that by approximately 3:14 p.m., BAQUERO and VALENTIN had been
forced out of the Rotunda by law enforcement, through the east door of the Rotunda. From
approximately 3:14 p.m. to approximately 3:19 p.m., BAQUERO stood outside the east door to
the Rotunda.

        At approximately 3:19 p.m., CCTV and publicly available video show USCP officers were
attempting to close the east doors of the Rotunda in order to keep expelled rioters from reentering.
At this time, BAQUERO rushed at the officers and attempted to push one of the Rotunda doors
open. BAQUERO had to be pulled away by USCP officers and forcibly removed from the path
of the door. In the CCTV screenshot below, BAQUERO, circled in red, can be seen approaching
the officers trying to close the east doors.




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       In the screenshot below, from publicly available video, BAQUERO, circled in red, can be
seen pushing the east door open while a USCP officer attempts to close it.




In the screenshot below, from publicly available video, BAQUERO, identified by the red arrow,
can be seen after USCP officers had to forcibly remove him from the path of the door.




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       Based on the aforementioned evidence, there is probable cause to believe that LOUIS
VALENTIN and JULIO BAQUERO were present inside the U.S. Capitol on January 6, 2021
during the riot and related offenses that occurred at the U.S. Capitol Building on January 6, 2021.

        Your affiant submits that there is also probable cause to believe that LOUIS VALENTIN
and JULIO BAQUERO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.




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        Your affiant submits there is also probable cause to believe that LOUIS VALENTIN and
JULIO BAQUERO violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.

        Your affiant submits there is also probable cause to believe that JULIO BAQUERO
violated 18 U.S.C. § 231(a)(3) and § 2, which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

        Your affiant submits there is also probable cause to believe that JULIO BAQUERO
violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede,
intimidate, or interfere with any person designated in section 1114 of Title 18 while engaged in or
on account of the performance of official duties. Persons designated within section 1114 include
any person assisting an officer or employee of the United States in the performance of their official
duties.




                                                      ____________________________
                                                      Michael White, Task Force Officer
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 28th day of October, 2021.


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                                                     _____________________________________
                                                     HONORABLE ZIA M. FARUQUI
                                                     UNITED STATES MAGISTRATE JUDGE



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